       Case 1:22-cr-00354-RCL          Document 130        Filed 01/21/25     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,


              v.                                    Case No.:       1 :22-cr-354 (RCL)


RICHARD SLAUGHTER, and
CADEN PAUL GOTTFRIED,

                      Defendants.

                                            ORDER

       Pursuant to the motion filed by the United States, ECF 129, it is hereby ordered that the

Motion to Dismiss the Indictment pursuant to Rule 48(a) with prejudice is GRANTED.



       SO ORDERED this ..::2.Lirday of       :1.«11 . , 2025.

                                            HONORABLE ROYCE C. LAMBERTH
                                            United States District Court Judge
